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                                                Exhibit 1



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In re:    HOBBICO, INC., et al. (Debtor-in-possession)                I. Summary of Bank Accounts and Cash Balances on Date of Conversion
Case No: 18-10055 (KG)
Period: Final Report as of July 18, 2018




                                                                                                                            Bank Balance        Book Balance
   Entity                                Debtor #              Bank             Account Number           Type               as of 7/18/18       as of 7/18/18      Comments
   Hobbico Inc.                          18-10055 (KG)         Wells Fargo      xxx5253                  Collections                                               Subject to Horizon DACA
   Hobbico Inc.                          18-10055 (KG)         Wells Fargo      xxx4929                  Disbursement
   Hobbico Inc.                          18-10055 (KG)         Wells Fargo      xxx8089                  Operating            $239,719.13          $172,946.47     Subject to open payables and $115K Horizon Claim
   Hobbico, Inc. (Reno NV)               18-10055 (KG)         Wells Fargo      xxx8063                  Collections                                               Closed on or before 5/7/18
   Hobbico, Inc. (Reno NV)               18-10055 (KG)         Wells Fargo      xxx0831                  Disbursement                                              Closed on 5/7/18
   Hobbico Inc.                          18-10055 (KG)         Wells Fargo      xxx1056                  Utility Escrow        $29,728.60            $29,728.60    Subject to unpaid post petition utility invoices
   Hobbico Inc.                          18-10055 (KG)         Delaware Trust   xxx3386                  Deposit Escrow
   Hobbico Inc.                          18-10055 (KG)         Delaware Trust   xxx3862                  Lincoln Fee Escrow
   Hobbico Inc.                          18-10055 (KG)         Busey            xxx7442                  Operating Expense         $500.00              $500.00    Remainder for estimated July bank fees
   Hobbico Inc.                          18-10055 (KG)         Busey            xxx9092                  Fee Carve Out
   Tower Hobbies, Inc.                   18-10059 (KG)         Wells Fargo      xxx8022                  Collections                                               Subject to Horizon DACA
   Tower Hobbies, Inc.                   18-10059 (KG)         Wells Fargo      xxx0849                  Disbursement                                              Closed on 5/7/18
   Tower Hobbies, Inc.                   18-10059 (KG)         Wells Fargo      xxx7826                  Operating                                                 Closed on 6/19/18
   Tower Hobbies, Inc.                   18-10059 (KG)         Wells Fargo      xxx8048                  Collections                                               Subject to Horizon DACA (Hobby Shipper)
   Tower Hobbies, Inc. (Omni)            18-10059 (KG)         Wells Fargo      xxx8030                  Collections                                               Subject to Horizon DACA (Omni Models)
   Axial                                 18-10056 (KG)         Wells Fargo      xxx8014                  Collections                                               Subject to Horizon DACA
   Axial                                 18-10056 (KG)         Wells Fargo      xxx8166                  Disbursement                                              Closed on 5/7/18
   Axial                                 18-10056 (KG)         Wells Fargo      xxx6798                  Operating                                                 Closed on 5/7/18
   ADL                                   18-10158 (KG)         Lloyds Bank      xxx8068 (GBP)            Operating              $4,998.11
   ADL                                   18-10158 (KG)         Lloyds Bank      xxx7839 (USD)            Operating                 $913.62            $6,100.00    Total USD denominated balance for all three ADL accounts
   ADL                                   18-10158 (KG)         Lloyds Bank      xxx6416 (EUR)            Operating                 $342.07                         (ADL balance by account was not available for July book close)
   Great Planes Model Mfg, Inc.          18-10057 (KG)         Wells Fargo      xxx8055                  Collections
   Great Planes Model Mfg, Inc.          18-10057 (KG)         Wells Fargo      xxx0856                  Disbursement                                              Closed on 5/7/18
   Great Planes Model Mfg, Inc.          18-10057 (KG)         Wells Fargo      xxx7842                  Operating                                      $189.39    Closed on 5/7/18 - Book balance is petty cash on hand
   United Model                          18-10060 (KG)         Wells Fargo      xxx8071                  Collections
   United Model                          18-10060 (KG)         Wells Fargo      xxx0864                  Disbursement                                              Closed on 5//7/18
   United Model                          18-10060 (KG)         Wells Fargo      xxx7743                  Operating
   Estes-Cox                             18-10054 (KG)         Wells Fargo      xxx8006                  Collections                                               Closed on 5/7/18
   Estes-Cox                             18-10054 (KG)         Wells Fargo      xxx0872                  Disbursement                                              Closed on 5/7/18
   Estes-Cox                             18-10054 (KG)         Wells Fargo      xxx1522                  Operating                                                 Closed on 5/7/16
   Revell                                18-10058 (KG)         Wells Fargo      xxx7990                  Collections
   Revell                                18-10058 (KG)         Wells Fargo      xxx2707                  Disbursement                               ($21,619.60)   Book balance is open checks that will ZBA from x8089 account
   Revell                                18-10058 (KG)         Wells Fargo      xxx6909                  Operating
    Total Cash as of 7/18/18                                                                                                  $276,201.53          $187,844.86

   Bank to Book Reconciling Entries
   Open Pre-Petition Hobbico Checks                                                                                             ($66,772.66)
   Open Post-Petition Revell checks                                                                                             ($21,619.60)
   Petty Cash on hand                                                                                                               $189.39
   ADL Actual to Book variance                                                                                                     ($153.80)
    Book Balance as of 7/18/18                                                                                                  $187,844.86

   Note that secured lenders have a senior secured claim on remaining cash balances, subject to certain post-petition and administrative claims as detailed in attached schedule III. Accounts Payable.




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In re:    HOBBICO, INC., et al. (Debtor-in-possession)                                         II. Accounts Receivable
Case No: 18-10055 (KG)
Period: Final Report as of July 18, 2018


                             Customer Receivables                                           Total                                            Comment
                             Revell-US
                             Accounts receivable                                        $ 1,327,118 Revell-US trade receivables have been assigned to the Senior Secured Lender and are
                             Allowance for bad debt                                     $ (78,948) subject to offset of Revell GmBh payables as detailed in Schedule III. (Accounts Payable)
                             Total Revell-US Receivables                                $ 1,248,170 and Estes intercompany receivables eliminated below.
                             United Model
                             Accounts receivable                                        $   292,803   United Model trade receivables have been assigned to the Senior Secured Lender and are
                             Allowance for bad debt                                     $         -   subject to offset for Customer Progams Liability as detailed in Schedule III. Accounts
                             Total United Model Receivables                             $   292,803   Payable
                             ADL
                             Accounts receivable                                        $     3,635   VAT Refund
                             Allowance for bad debt                                     $         -
                             Total ADL Receivables                                      $     3,635
                             GPMM
                             Accounts receivable                                        $   104,618   The majority ($95,403) is eliminated below as an receivable from Hobbico. The remainder is
                             Allowance for bad debt                                     $         -   aged receivables as detailed only in schedules (paper copy only) maintained on-site with
                             Total GPMM Receivables                                     $   104,618   Debtor.
                             Subtotal - Pre-Eliminations
                             Accounts receivable                                        $ 1,728,174
                             Allowance for bad debt                                     $ (78,948)
                             Subtotal - Pre-Eliminations Receivables                    $ 1,649,227
                             Eliminations - All Subsidiaries
                             Accounts receivable                                        $ (120,210) Hobbico receivable from Estes $24,807 and Hobbico receivable from GPMM $95,403.
                             Total Eliminations - All Subsidiaries Receivables          $ (120,210)
                             Total - Post-Eliminations - All Subsidiaries
                             Accounts receivable                                        $ 1,607,965
                                                                                        $ (78,948)
                             Total - Post-Eliminations - All Subsidiaries Receivables   $ 1,529,017




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In re:    HOBBICO, INC., et al. (Debtor-in-possession)                                           III. Post Petition Accounts Payable
Case No: 18-10055 (KG)
Period: Final Report as of July 18, 2018


      Hobbico Post Petition Payables             Bill Date      Amount      Service Dates        Comments                                                      Address                                 City / State / Zip
      Ameren Illinois                            5/18/2018    $     228.19   04/17 - 05/16                                                    PO Box 88034                               Chicago, IL 60680-1034
      Ameren Illinois                            6/12/2018    $     132.25   05/16 - 06/08                                                    PO Box 88034                               Chicago, IL 60680-1034
      Constellation                               7/9/2018    $ 2,458.20                                                                      PO Box 4640                                Carol Stream IL 60197-4640
      Constellation                               7/9/2018    $     234.23                                                                    PO Box 4640                                Carol Stream IL 60197-4640
      Constellation                              6/21/2018    $     322.76                                                                    PO Box 4640                                Carol Stream IL 60197-4640
      Constellation                              6/13/2018    $      11.13                                                                    PO Box 4640                                Carol Stream IL 60197-4640
      Constellation                              5/31/2018    $      84.38                                                                    PO Box 4640                                Carol Stream IL 60197-4640
      Constellation                              6/18/2018    $     138.69                                                                    PO Box 4640                                Carol Stream IL 60197-4640
      Constellation                               7/9/2018    $     928.54                                                                    PO Box 4640                                Carol Stream IL 60197-4640
      Constellation                              6/21/2018    $     943.53                                                                    PO Box 4640                                Carol Stream IL 60197-4640
      Constellation                              5/22/2018    $     916.70                                                                    PO Box 4640                                Carol Stream IL 60197-4640
      Constellation                              5/10/2018    $      87.03                                                                    PO Box 4640                                Carol Stream IL 60197-4640
      Urbana-Champaign Sanitary                  5/23/2018    $     166.68   03/02 - 05/03                                                    PO Box 788                                 Urbana, IL 61803-0788
      Illinois American Water                    6/19/2018    $      39.61   05/04 - 06/06                                                    PO Box 3027                                Milwaukee, WI 53201-3027
      Republic Services                          6/20/2018    $     802.67    June / July        Called and told them it was cancelled        PO Box 9001154                             Louisville, KY 40290-1154
      Republic Services                          6/21/2018    $     479.73    June / July        Called and told them it was cancelled        PO Box 9001154                             Louisville, KY 40290-1154
      FE Moran Security                          6/15/2018    $     295.00 Annual Inspection                                                  3001 Research Rd, Suite A                  Champaign IL 61822
      AT&T                                       5/22/2018    $     101.82   05/22 - 06/21                                                    PO Box 5080                                Carol Stream IL 60197-5080
      AT&T                                       6/22/2018    $     104.17   06/22 - 07/21                                                    PO Box 5080                                Carol Stream IL 60197-5080
      AT&T                                       6/19/2018    $     267.85   06/19 - 07/18                                                    PO Box 5080                                Carol Stream IL 60197-5080
      David Whaley                                7/2/2018    $     225.38                       Previously paid by company                   624 W 2nd St                               Lamoni IA 50140
      Bitco                                       6/5/2018    $ 1,000.00                         Claim Deductible                             10733 Sunset Office Drive, Suite 430       St. Louis, MO 63127-1033
      Bitco                                      6/19/2018    $ 1,000.00                         Claim Deductible                             10733 Sunset Office Drive, Suite 430       St. Louis, MO 63127-1033
      WestRock                                   2/15/2018    $ 2,370.70 Called & Emailed        Boxes purchased in February                  PO Box 409813                              Atlanta, GA 30384-9813
      Affa Invoice                                3/3/2018    $     246.00                       Freight                                      Unit C, 13/F., Shield Ind. Centre, 84-92   Chai Wan Kok St., Tsuen Wan, N.T. H.K.
      Model Aviation                              6/7/2018    $ 3,658.24 Called & Emailed        Told filed Chapter 7 - said will write off   5161 E. Memorial Dr.                       Muncie, IN 47302
      PMA                                         6/1/2018    $ 2,731.00                         Claim Handling Charge                        PO Box 824857                              Philadelphia PA 19182-4857
      Cook County Dept of Environmental          4/15/2018    $     105.00                                                                    69 W. Washington St., Suite 1900           Chicago IL 60602
      American Welding & Gas                      7/6/2018    $ 1,161.00                         6 Lost forklift propane cylinders            PO Box 74008003                            Chicago IL 60674-8003
      Greatbanc                                  6/15/2018    $ 28,750.00                                                                     801 Warrenville Road, Suite 500            Lisle, IL 60532
      IRS                                        7/16/2018    $     348.56                       2017 940 Penalties/Interest                                                             Ogden UT 84201-0039
      Sunguard Availability Services             5/22/2018    $ 6,567.00      5/1/to 7/31        Availability services                     91233 Collection Center Drive                 Cicago, IL 60693
      US Trustee                                              $ 79,687.39      4/1 - 7/18        Net of $39,795 Q1 Overpayment             P.O. Box 530202                               Atlanta, GA 30353-0202
      Horizon Final Reconciliation                            $ 115,000.00                       Horizon sales reciepts pass through
      Estes Final Reconciliation                              $ 4,933.02                         Estes Sales receipts pass through
      Total Open Hobbico AP                                   $ 256,526.45                       [Note that $29,728.60 remains in the a Utility escrow account at Wells to address the utility portion of open payables]

      United Model Post Petition Payables        Bill Date      Amount         Service Dates     Comments
      Various Customer Receivable Offsets                     $ 147,050.00                       Estimated amount of customer program discounts that will reduce value of receivables collected by Hilco as agent for Lenders

      Revell US Post Petition Payables           Bill Date      Amount           Invoice         Comments
      Kong Link Engineering                      3/30/2018    $ 13,440.00       IN-18/022        Disputed claim
      Longshore Limited                          4/12/2018    $ 4,000.00       RN1701515A        Disputed claim
      Revll GmbH & Co KG                         3/29/2018    $ 26,961.87        021058
      Revll GmbH & Co KG                         3/30/2018    $ 35,456.98        021283          Revell GmbH payables are subject to offsetting recievables (undisputed by Revell GmbH) of $178,818.82 and additional disputed
      Revll GmbH & Co KG                          4/8/2018    $ 36,375.67        023463          offseting receivables of $74,923. The net post petition balance with Revell GmbH is therefore either a $17,5701 payable or a
      Revll GmbH & Co KG                          5/4/2018    $ 47,853.56        031479          $57,353 receivable depending upon which party is resonsible for reclaiming a VAT tax refund on royalties paid.
      Revll GmbH & Co KG                          5/4/2018    $ 49,740.74        031934
      Total Open Hobbico AP                                   $ 213,828.82

      The amounts listed represent amounts for which the Debtors received invoices. Many of the claims in this table are unsubstantiated or may be subject to offset as noted. The inclusion of any claim in this table indicates
      only that such claims may potentially be owed by the Debtors.
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In re:    HOBBICO, INC., et al. (Debtor-in-possession)                                            IV. Summary of Asset Disposals
Case No: 18-10055 (KG)
Period: Final Report as of July 18, 2018


        Docket Number Date Filed                                                Docket Name                                             Asset Description                                         $ Value    Seller
        316           4/2/2018                                                                                                          Champaign owned Real Estate, Inventory, Accounts      $18,800,000.00 Hobbico
                                                                                                                                        Receivable of Sellers, Equipment, Deposits and                       Tower
                                                                                                                                        prepayments, Intellectual Property.                                  GPMM
                                                                                                                                                                                                             Axial
                                          Order (A) Approving the sale of Certain assets of the Debtors Free and Clear of All
                                                                                                                              Real Property - see filed sched 2.1(a)                          $ 7,000,000.00 Estes Cox Corp.
                                          Liens, Claims and Encumbrances; (B) Approving the Assumption and Assignment of
                                                                                                                              Personal Property - see filed sched 2.1 (b)
                                          Certain Executory Contracts and Unexpired Leases; (C) Authorizing debtors to
                                                                                                                              Accounts Receivable
                                          Consummate Transactions Related to the Above and (D) Granting Certain Other Relief.
                                                                                                                              Inventory
                                                                                                                              Books and Records
                                                                                                                              Intellectual Property
                                                                                                                              Contracts, Agreements, Licenses
        361              4/13/2018        Order approving the sale of Global Revell Lot Free and Clear of All Liens, Claims             All of the outstanding equity interest in Hobbico's   $ 3,900,000.00 Hobbico Inc. and
                                          Interests, and Encumbrances; (B) Approving the assumption and assignment of certain           foreign subsidiary Hobbico Deutschland Holding                       Revell, Inc.
                                          executory contracts and unexpired leases pursuant to Section 365 of the Bankruptcy            GmbH, which is in turn the sole owner of Revell
                                          Code; (C) Authorizing the Debtors to consummate transaction related to the above; and         GmbH.
                                          (D) granting certain other relief
        436              5/16/2018        Order (I) Authorizing the sale of assets, free and clear of all liens, claims, liabilities,   Urbana Real Estate, Inventory of GPMM other than      $   557,000.00 Hobico, Inc.,
                                          encumbrances, and interest of any kind or nature whatsoever, to MT Acquisitions, LLC,         Excluded Inventory, Equipment of GPMM, other than                    Great Planes
                                          (II) Approving assumption and assignment of executory contract(s) (III) approving             Excluded Equipment, Contracts, Purchased Causes                      Model
                                          procedures for the sale or abandonment of miscellaneous assets, and (IV) granting             of Action.                                                           Manufacturing,
                                          related relief.                                                                                                                                                    Inc.
        444              5/171/18         Exhibit(s) Notice of Sale of Miscellaneous Assets (Viking Warehouse Racking) (Related Viking Warehouse Racking                                      $    23,832.00 Hobbico Inc.
                                          Document(s) [414], [436])
        454              5/23/2018        Notice of Sale of Property Free and Clear of Liens - 363(f) FRBP 6004 Notice Of Sale          Branded Packing And Spare Model Airplane Parts        $           -   GPMM
                                          And Abandonment Of Miscellaneous Assets (Branded Packing And Spare Model
                                          Airplane Parts) Filed by Hobbico, Inc.. Objections due by 5/29/2018. (Miller, Curtis)
        506              6/28/2018        Notice of Sale of Miscellaneous Assets (Warehouse Machinery, Equipment, Racking,        Viking and EGV Warehouse Machinery, Equipment,              $    27,500.00 Hobbico Inc.
                                          Forklifts, Order Pickers and Other Personal Property) (Related Document(s) [436]) Filed Racking, Forklifts, Order Pickers and Other Personal
                                          by Hobbico, Inc.                                                                        Property
        518              7/3/2018         Exhibit(s) Notice of Sale of Miscellaneous Assets (Pallet Racking, and Related Personal Viking Pallet Racking, and Related Personal Property        $    30,420.00 Hobbico Inc.
                                          Property) Filed by Hobbico, Inc.. (Talmo, Matthew)
        519              7/3/2018         Exhibit(s) Notice of Sale of Miscellaneous Assets (Wood Inventory) Filed by Hobbico,    Wood Inventory                                              $    80,000.00 GPMM
                                          Inc.. (Talmo, Matthew)
        532              7/11/2018        Notice of Sale of Property Free and Clear of Liens - 363(f) FRBP 6004 Notice of Sale of Viking Racking Inventory                                    $    12,000.00 Hobbico Inc.
                                          Miscellaneous Assets (Racking Inventory) Filed by Hobbico, Inc.
        533              7/11/2018        Notice of Sale of Property Free and Clear of Liens - 363(f) FRBP 6004 Notice of Sale of C-Me Selfie Drones                                          $     5,000.00 Revell US
                                          Miscellaneous Assets (C-Me Selfie Drones) Filed by Hobbico, Inc.
        534              7/11/2018        Notice of Sale of Property Free and Clear of Liens - 363(f) FRBP 6004 Notice of Sale of Wood Tools                                                  $    10,000.00 GPMM
                                          Miscellaneous Assets (Wood Tools) Filed by Hobbico, Inc.

        535              7/11/2018        Notice of Sale of Property Free and Clear of Liens - 363(f) FRBP 6004 Notice of Sale of EGV Racking Inventory                                       $     3,500.00 Revell US
                                          Miscellaneous Assets (Racking Inventory) Filed by Hobbico, Inc.
        536              7/11/2018        Notice of Proposed Abandonment of Property of the Estate Notice of Abandonment of                                                                   $           -
                                          Miscellaneous Assets (Accounts Receivable) Filed by Hobbico, Inc.




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In re:    HOBBICO, INC., et al. (Debtor-in-possession)                                V. Residual Receivables and Retainers
Case No: 18-10055 (KG)
Period: Final Report as of July 18, 2018



                              Other Receivables                                            Total                                           Address
                              Professional Retainers
                              Burr & Forman                                            $    10,000   P.O. Box 830719 Birmingham, Alabama 35283-0719
                              Charles Rohrs                                            $     2,993   14 Richardson St. Newton, MA 02458
                              CR3 Partners, LLC                                        $     1,099   13355 Noel Road, Suite 310 Dallas, TX 75240
                              Drinker Biddle & Reath                                   $    14,438   191 N. Wacker Drive, Suite 3700 Chicago, IL 60606-1698
                              Geldards                                                 $    46,945   The ARC Enterprise Way Nottingham, NG2 1EN
                              Krieg Devault                                            $    56,047   One Indiana Square Suite 2800 Indianapolis, IN 46204-2079
                              MTM Global                                               $     5,000   www.mtmglobal.net
                              RSM US                                                   $    56,127   2021 South First Street, Suite 110 Champaign, IL 61820-9875
                              Steiker, Greenapple & Fusco                              $     5,000   555 E. City Avenue, Suite 910 Bala Cynwyd, PA 19004
                              Vedder Price                                             $     5,000   222 North Lasalle Street Chicago, IL 60601
                              Total Professional Retainers                             $   202,649


                              Estimated Insurance Refunds (Estimated amounts, subject to audit and potential $56,800 offset due on Estes GL Policy)
                              Hobbico BITCO Auto Policy                                $     4,863 3700 Market Square Cir., Davenport, IA 52807
                              Hobbico Bitco Worker's Compensation Policy               $   95,997 3700 Market Square Cir., Davenport, IA 52807
                              Hobbico Hartford Ocean Marine Policy                     $     2,104 200 Hopmeadow St. Simsbury, Ct 06089
                              Hobbico Federal Insurance 15 x 10 Umbrella Policy        $     4,550 202B Hall's Mill Road, Whitehouse Station, NJ 08889
                              Hobbico AFCO Financed GL Policy                          $ 163,992 5600 N. River Road Suite 400, Rosemont, IL 60018-5187
                              Estes Pinnacol Worker's Compensation Policy              $   11,042 7501 E Lowry Blvd Denver, CO. 80230
                              Estes AFCO Financed General Liability Policy             $ (56,844) 5600 N. River Road Suite 400, Rosemont, IL 60018-5187
                              Total Estimated Insurance Refunds                        $ 225,704




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In re:    HOBBICO, INC., et al. (Debtor-in-possession)        VI.(a) Executory Contracts and Unexpired Leases
Case No: 18-10055 (KG)
                                                                         Assigned to Horizon Hobby
Period: Final Report as of July 18, 2018




                       "Acquired Assets" shall include all of each Seller's right, title and interest in and to the following…(e) the following
                       Contracts (the "Listed Contracts") all of which shall be Assigned Contracts:
                       those Contracts (other than purchase orders or sales orders) identified on Schedule 2.1(e)(i), as such Schedule may be
                       updated from time to time by Purchaser pursuant to Section 6.9

                       Horizon/Hobbico Purchase Agreement Schedule 2.1(e)(i) Certain Listed Contracts
                        DEBTOR CONTRACT ID                             NON-DEBTOR COUNTERPARTY
                       1009                    KNIFE EDGE SOFTWARE (KES)
                        1011                   LOCKHEED MARTIN CORPORATION
                       1012                    ASSOCIATED INTEGRATED SUPPLY CHAIN SOLUTIONS
                       1013                    DIGITAL COPY SYSTEMS, LLC
                       1015                    BAZAAR VOICE
                       1022                    THE WEAK SIGNALS R/C CLUB
                       1023                    COSCO SHIPPING LINES CO, LTD
                       1040                    ITCANFLY, LLC
                       1042                    NO COAST DESIGN LLC
                       1043                    CUMMINS CROSSPOINT LLC
                       1045                    AVAYA
                       1050                    ASSOCIATED INTEGRATED SUPPLY CHAIN SOLUTIONS
                       1051                    ASSOCIATED INTEGRATED SUPPLY CHAIN SOLUTIONS
                       1052                    ASSOCIATED INTEGRATED SUPPLY CHAIN SOLUTIONS
                       1053                    MAXON
                       1054                    MAXON
                       1055                    MAXON
                       1056                    TRUSTWAVE HOLDINGS
                       1057                    ARPEGGIO SOFTWARE
                       1058                    TOWNSEND SECURITY
                       1059                    DELL
                       1060                    DELL
                       1061                    ACRONIS
                       1062                    OPENTEXT
                       1063                    LRS
                       1064                    DELL
                       1065                    DELL
                       1067                    DELL
                       1073                    SHI
                       1074                    CISCO/CDW
                       1075                    MICROSOFT
                       1076                    COGNOS PIER 1/SERVERBEACH
                       1077                    DELL
                       1088                    AVAYA
                       1079                    BARRACUDA
                       1080                    SHI
                       1081                    TRENDMICRO
                       1083                    STRATEGIC MOBILITY GROUP
                       1085                    DELL
                       1086                    VEEAM
                       1087                    DELL
                       1088                    AVAYA
                       1093                    CARDINAL COMMERCE
                       4001                    CARDINAL COMMERCE
                       5001                    DOCRAPTOR
                       5002                    ESET
                       5003                    GS1 UK
                       5004                    NET THREAT
                       5005                    PIB INSURANCE BROKERS
                       5006                    PLUSNET TECHNOLOGIES LTD
                       5007                    SCOTTISH WIDOWS
                       5008                    SIMPLY HEALTH
                       5009                    SMITH COOPER SYSTEM PARTNERS
                       5010                    TAMWORTH OFFICES LIMITED
                       5011                    UK2
                       5012                    VITALITY HEALTH INSURANCE
                       6001                    ALDERSON FAMILY TRUST
                       6002                    ALDERSON FAMILY TRUST
                       6005                    JAKE HALLENBECK
                       6006                    GENERAL MOTORS LLC
                       6007                    CURRIE ENTERPRISES/CASEY CURRIE MOTORSPORTS
                       6008                    FELD MOTOR SPORTS, INC.
                       6009                    GENERAL MOTORS LLC
                       6010                    AIRCRAFT RUBBER MANUFACTURING, INC. D/B/A FUEL SAFE SYSTEMS
                       6011                    AOE4X4 / AMERICAN OVERLAND EXPEDITION
                       6012                    AREA BFE
                       6013                    BAJA DESIGNS INC.
                       6014                    BOMBARDIER RECREATIONAL PRODUCTS INC. ("BRP)
                       6015                    BULLDOG WINCH COMPANY LLC



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In re:    HOBBICO, INC., et al. (Debtor-in-possession)   VI.(a) Executory Contracts and Unexpired Leases
Case No: 18-10055 (KG)
                                                                    Assigned to Horizon Hobby
Period: Final Report as of July 18, 2018




                       Horizon/Hobbico Purchase Agreement Schedule 2.1(e)(i) Certain Listed Contracts
                       6016                    CBM MOTORSPORTS LLC
                       6017                    CBR PERFORMANCE PRODUCTS INC.
                       6018                    CHASSIS UNLIMITED INC.
                       6019                    CONTINENTAL TIRE THE AMERICAS, LLC
                       6020                    DANA LIMITED
                       6021                    EATON CORPORATION
                       6022                    ENERSYS AFFILIATED COMPANIES,
                       6023                    FINISH LINE MARKETING/HAWK PERFORMANCE
                       6024                    HANKOOK TIRE AMERICA CORP.
                       6025                    ICON VEHICLE DYNAMICS
                       6026                    JCR OFFROAD INC.
                       6027                    KAMM INDUSTRIES INC. D/B/A PRP SEATS
                       6028                    KING SHOCK TECHNOLOGY, INC.
                       6029                    MAGNAFLOW
                       6030                    MAXIMUM TRANSMISSIONS INC.
                       6031                    MAXXIS INTERNATIONAL
                       6032                    MAXXIS INTERNATIONAL
                       6033                    MIDWEST TRUCK AND AUTO PARTS INC. D/B/A MOTIVE GEAR
                       6034                    NAVICO INC.
                       6035                    NITRO GEAR AND AXLE
                       6036                    NOTCH CUSTOMS LLC
                       6037                    OVERLAND JOURNAL
                       6038                    PCI RACE RADIOS INC.
                       6039                    POISON SPYDER CUSTOMS INC.
                       6040                    PRECISION DESIGNS “SPOD”
                       6041                    PRO COMP INC.
                       6042                    RANCHO DRIVETRAIN ENGINEERING INC.
                       6043                    RIGID INDUSTRIES
                       6044                    RUBICON EXPRESS INC.
                       6045                    SUMITOMO RUBBER INDUSTRIES, LTD.
                       6046                    THE KHATEL
                       6047                    TRAIL READY PRODUCTS LLC
                       6048                    TREK ARMOR INC.
                       6049                    WALKER EVANS RACING
                       6050                    WHEELPROS LLC
                       6051                    WILWOOD ENGINEERING
                       6052                    WURTON LLC
                       6053                    YOTAMASTERS INC.
                       6054                    HAMMERKING PRODUCTIONS, INC./ULTRA4 RACING TOUR
                       6055                    SCORE INTERNATIONAL
                       6056                    BOMBER FABRICATION
                       6057                    SMART SYSTEMS TECHNOLOGIES
                       6058                    CENTURY BUSINESS SOLUTIONS
                       6059                    CENTURY BUSINESS SOLUTIONS
                       6061                    SAGE




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In re:    HOBBICO, INC., et al. (Debtor-in-possession)      VI.(b) Executory Contracts and Unexpired Leases
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                                                                     Assigned to Estes Industries, LLC
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                                            "Acquired Assets" shall include all of each Seller's right, title and interest in and to the
                                            following…(h) all of Seller's Contracts, agreements, licenses…as set forth on Schedule 2.1(h),
                                            solely to the extent that such Excutory Cotracts and Unexpired Leases are designated by
                                            Purchaser to Seller in writing, within five (5) days following the execution hereof.

                                            Estes Industries, LLC/Estes-Cox Corp. Purchase Agreement Schedule 2.1(h)
                                                   Contract ID        Counterparty
                                                      7003            ACE HARDWARE CORPORATION
                                                      7004            AMAZON.COM INC.
                                                      7005            AMAZON.COM.CA, INC.
                                                      7006            BENNYS INC DBA STEWART DISTRIBUTING
                                                      7007            BI-MART CORPORATION
                                                      7008            BLAIN'S FARM & FLEET
                                                      7009            CABELA'S
                                                      7010            DO IT BEST CORPORATION
                                                      7011            FRED MEYER, INC
                                                      7012            FRY'S ELECTRONICS
                                                      7013            JENSEN DISTRIBUTION SERVICES
                                                      7014            MEIJER, INC.
                                                      7015            MID-STATES DISTR COMPANY
                                                      7016            MILITARY MODEL
                                                      7017            MMP, LLC
                                                      7018            SUPERVALU
                                                      7019            TARGET NORTHERN OPER.CTR.
                                                      7020            Target.com, a Div of Target Corp.
                                                      7021            TOYS 'R' US
                                                      7022            TRUE VALUE COMPANY
                                                      7023            UNITED HARDWARE DISTR CO.
                                                      7024            WALMART
                                                      7065            AEROMODELLI LTDA
                                                      7072            ARTSKIN SRL
                                                      7073            CLICKTALE
                                                      7074            DAWN TRADING
                                                      7075            EIJI SATO
                                                      7076            ESBAS / SPACE CAMP - TURKEY
                                                      7064            GAMETEC SA.
                                                      7077            HOBBIES AUSTRALIA
                                                      7066            HOBBY CENTER
                                                      7078            HOBBY CENTER
                                                      7071            INNOVATION COMPUTERS
                                                      7079            JAPAN ASSOC. OF ROCKETRY
                                                      7080            LOGIC RC, LTD
                                                      7067            LUIS GONZAGA OBREGON ZETINA
                                                      7069            MPM SA S.A.
                                                      7070            ZALAQUETT Y AVENDANO LIMITADA
                                                      7025            Veritiv
                                                      7026            AFCO
                                                      7027            Fireman's Fund Ins Co
                                                      7028            First Mercury Ins Co
                                                      7029            Navigators
                                                      7030            Pinnacol Assurance
                                                      7031            Trade Risk Guaranty Brokerage Services, LLC
                                                      7032            Verlan Fire Ins Co
                                                      7033            Kuebix
                                                      7034            Magento
                                                      7035            Thomson Reuters
                                                      7036            TOPS Software Corporation
                                                      7037            EXTOL
                                                      7038            Fujitsu Glovia, Inc.
                                                      7039            1 World Sync
                                                      7040            CommerceHub
                                                      7041            ShipWorks
                                                      7042            UL Information & Insights Inc DBA The Wercs
                                                      7043            unleaded
                                                      7044            Avalara
                                                      7045            Miller Enterprises
                                                      7046            AeroTech Division of RCS Rocket Motor Companies
                                                      7047            Johnson Research & Development Co. (licensee is Hobbico, Inc.)
                                                      7048            Leisure Inc dba WhiteBoard Product Solutions
                                                      7049            Victoria G. Dorffler (beneficiary to Michael Dorffler, deceased)
                                                      7050            Banghart-Corin & Associates
                                                      7051            BDC Group, Inc.
                                                      7052            Besco Associates
                                                      7053            CDZ Sales, Inc
                                                      7054            Chapman-Bingham Assoc Inc
                                                      7055            Intermarket Enterprises
                                                      7056            M squared sales
                                                      7057            Strategic Marketing Partners, Inc.
                                                      7058            Terry Toy's Inc



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                                                   Contract ID     Counterparty
                                                     7059          The O'Keefe Company
                                                     7060          Toyco Inc.
                                                     7061          National Association of Rocketry
                                                     7062          ChemTel Inc
                                                     7063          CSC




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In re:    HOBBICO, INC., et al. (Debtor-in-possession)     VI.(c) Executory Contracts and Unexpired Leases
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                                                                        Assigned to Blitz GmbH
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                                  Blitz GmbH/Revell, Inc. Purchase Agreement Schedule 2.1(u)
                                   DEBTOR CONTRACT ID NON-DEBTOR COUNTERPARTY
                                           8144             U.S. Department of the Navy
                                           8145             Universal Studios Licensing LLC
                                           8093             C. Foose Design, Inc.
                                           8136             Supercar Collectibles, Ltd.
                                           8135             Sony Pictures Television Inc.
                                           8146             Universal Studios Licensing LLC
                                           8100             Dick Brannan
                                           8086             Aktiebolaget Volvo (publ)
                                           8104             Driven Performance Brands
                                           8124             Mitsubishi Motors Corporation
                                           8139             Tom Daniel
                                           8113             Hulman Motorsports Properties, LLC
                                           8128             NicKey Performance, Inc.
                                           8133             Roland Leong
                                           8140             Tom Daniel
                                           8099             Diane Sox
                                           8087             AM General LLC
                                           8089             Automobili Lamborghini S.p.A.
                                           8090             Baer Brakes
                                           8091             Bowler Performance Transmissions
                                           8092             Bridgestone Brands, LLC
                                           8096             Dan Fink Metalworks
                                           8097             Dan Gurney (AAR aka All American Racers)
                                           8098             Dave Glass
                                           8105             Edelbrock, LLC
                                           8107             Fine Molds
                                           8109             Frank Iaconio Sr.
                                           8111             Goodguys Rod & Custom Assoc.
                                           8112             Green Dot North America
                                           8114             Ilene Roth
                                           8115             Ilene Roth
                                           8116             Ilene Roth
                                           8117             Ilene Roth
                                           8118             Ilene Roth
                                           8119             Linda Vaughn
                                           8121             Matt Hay
                                           8123             Mike Cook
                                           8125             NASCAR Team Properties
                                           8126             NASCAR Team Properties
                                           8127             National Street Rod Association
                                           8131             Paramount Licensing Inc.
                                           8132             Profiles Marketing Group
                                           8134             Roush Enterprises, Inc.
                                           8141             Tom Daniel
                                           8142             Tommy Ivo
                                           8143             Tower Top Tours, Inc.




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In re:    HOBBICO, INC., et al. (Debtor-in-possession)       VI.(d) Executory Contracts and Unexpired Leases
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                                                                      Assigned to MT Acquisitions, LLC
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                                            "Acquired Assets"means all of the following...(d) those Contracts identified in Schedule 2.1(d) (the
                                            "Listed Contracts") all of which shall be Assigned Contracts.



                                            MT Acquisitions, LLC/Great Planes Model Manufacturing, Inc Schedule 2.1(d)
                                                    Contract ID        Counterparty
                                            1. Contract 2002 with FE Moran Fire Inspection for monthly inspection of alarms




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          Contracts Rejected per Fourth Omnibus Motion 3/30/18 (Docket #345)
           Contract ID    Non Debtor Counterparty                                             Debtor Counterparty            Contract Description
              1006        RR Donnelley                                                        Hobbico, Inc.                  Catalog Manufacturing
              1007        Lever Interactive                                                   Hobbico, Inc.                  Advisor
              1016        Blue Sky                                                            Hobbico, Inc.                  Advisor
              1017        Pinacle                                                             Hobbico, Inc.                  Advisor
              1066        Maximizer                                                           Hobbico, Inc.                  Software Maintenance
              4002        Whitepages, Inc.                                                    Tower Hobbies, Inc.            Fixed Term Agreement
              4003        Google LLC f/k/a Google Inc.                                        Tower Hobbies, Inc.            Advertising


          Contracts Rejected in Fifth Omnibus Motion 5/31/18 (Docket #469)
           Contract ID    Non Debtor Counterparty                                             Debtor Counterparty            Contract Description
              3025        1 World Sync                                                        United Model, Inc.             Service Agreement
              8071        1 World Sync                                                        Revell Inc.                    IT
              8072        ACOM Solutions                                                      Revell Inc.                    IT
              8055        All Seasons Marketing                                               Revell Inc.                    Independent Mfg / Sales Representative
              8088        American Honda Motor Co., Inc. and Honda Patents & Technologies     Revell Inc.                    Licensing
              2034        AMERIN                                                              Great Planes Model Manufacturing,
                                                                                                                             Utilities
                                                                                                                                Inc.
              8056        AVS MARKETING SPECIALISTS,                                          Revell Inc.                    Independent Mfg / Sales Representative
              3015        Banghart-Corin & Associates                                         United Model, Inc.             Manufacturing/Sales Representative
              8057        Banghart-Corin & Associates                                         Revell Inc.                    Independent Mfg / Sales Representative
              3016        BDC Group, Inc.                                                     United Model, Inc.             Manufacturing/Sales Representative
              8058        BDC Group, Inc.                                                     Revell Inc.                    Independent Mfg / Sales Representative
              3017        Besco Associates                                                    United Model, Inc.             Manufacturing/Sales Representative
              8059        Besco Associates                                                    Revell Inc.                    Independent Mfg / Sales Representative
              3001        BLAIN'S FARM & FLEET                                                United Model, Inc.             Customer/Supplier Agreement
              8094        Carroll Shelby Licensing, Inc.                                      Revell Inc.                    Licensing
              8060        CDZ SALES, INC.                                                     Revell Inc.                    Independent Mfg / Sales Representative
              3018        Chapman-Bingham Assoc Inc                                           United Model, Inc.             Manufacturing/Sales Representative
              8061        Chapman-Bingham Assoc Inc                                           Revell Inc.                    Independent Mfg / Sales Representative
              8095        Chrysler Group LLC n/k/a FCA US LLC (DM05-000248.1)                 Revell Inc.                    Licensing
              2001        City of Urbana                                                      Great Planes Model manufacturing,
                                                                                                                             Utilities
                                                                                                                                Inc.
              8151        CleanNet USA                                                        Revell Inc.                    Outside Service
              8073        Commerce Hub                                                        Revell Inc.                    IT
              8074        Computer Aided Tech                                                 Revell Inc.                    IT
              8101        Disney Consumer Products, Inc                                       Revell Inc.                    Licensing
              8102        Disney Consumer Products, Inc                                       Revell Inc.                    Licensing
              8075        DPOE Image Flex Dr. Ing. h.c.F. Porsche                             Revell Inc.                    IT
              8103        Aktiengesellschaft                                                  Revell Inc.                    Licensing
              3026        Dun & Bradstreet                                                    United Model, Inc.             Service Agreement
              8106        Feld Motor Sports                                                   Revell Inc.                    Licensing
              8108        Ford Motor Company                                                  Revell Inc.                    Licensing
              8110        General Motors LLC                                                  Revell Inc.                    Licensing
               N/A        GreatBanc Trust Company                                             Hobbico                        Trustee Engagement Agreement
               N/A        GreatBanc Trust Company                                             Hobbico                        Trust Agreement
              8076        Green Lion Digital                                                  Revell Inc.                    IT
              8062        GREGORY M. MARX                                                     Revell Inc.                    Independent Mfg / Sales Representative
              3027        GS1, US                                                             United Model, Inc.             Service Agreement
              2035        ILLINOIS WATER                                                      Great Planes Model manufacturing,
                                                                                                                             Utilities
                                                                                                                                Inc.
              8079        Infor (US) Inc.                                                     Revell Inc.                    IT
              8063        INTERMARKET ENTERPRISES                                             Revell Inc.                    Independent Mfg / Sales Representative
              8080        JDA Software Inc.                                                   Revell Inc.                    IT
              8081        Kubotex                                                             Revell Inc.                    IT
              8120        Lockheed Martin Corporation                                         Revell Inc.                    Licensing
              3005        LOWE'S COMPANIES, INC.                                              United Model, Inc.             Customer/Supplier Agreement
              3019        M 2 Sales                                                           United Model, Inc.             Manufacturing/Sales Representative
              8064        M 2 Sales                                                           Revell Inc.                    Independent Mfg / Sales Representative
              8152        Mail Finance                                                        Revell Inc.                    Outside Service
              8122        Mazda Ace Co., Ltd.                                                 Revell Inc.                    Licensing
              3006        Michaels                                                            United Model, Inc.             Customer/Supplier Agrement
              3007        MID-STATES DISTR COMPANY                                            United Model, Inc.             Customer/Supplier
              3008        MILITARY MODEL                                                      United Model, Inc.             Customer/Supplier
              3020        Mountain State Sales                                                United Model, Inc.             Manufacturing/Sales Representative
              8065        Mountain State Sales                                                Revell Inc.                    Independent Mfg / Sales Representative
              8129        Northrop Grumman Systems Corporation                                Revell Inc.                    Licensing
              3021        O'Keefe Company                                                     United Model, Inc.             Manufacturing/Sales
              8066        O'Keefe Company                                                     Revell Inc.                    Independent Mfg / Sales Representative
              1037        Old Republic Surety Co                                              Hobbico                        Insurance
              3009        P.M. HANSEN LTD.                                                    United Model, Inc.             Customer/Supplier
              8130        PACCAR Inc.                                                         Revell Inc.                    Licensing
              8082        Pro Data                                                            Revell Inc.                    IT
              8154        Round 2, LLC                                                        Revell Inc.                    Royalty
              3022        S&S Sales                                                           United Model, Inc.             Manufacturing/Sales
              8067        S&S Sales                                                           Revell Inc.                    Independent Mfg / Sales Representative
              8083        Sage                                                                Revell Inc.                    IT
              3010        SCIENTIFIC MODELS INC                                               United Model, Inc.             Customer/Supplier
              8153        SOS Technologies                                                    Revell Inc.                    Outside Service



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            Contract ID     Non Debtor Counterparty                                      Debtor Counterparty       Contract Description
              3011          STEVENS INTERNATIONAL                                        United Model, Inc.        Agreement
              3023          Strategic Marketing Partners, Inc                            United Model, Inc.        Manufacturing/Sales
              8068          Strategic Marketing Partners, Inc                            Revell Inc.               Independent Mfg / Sales Representative
              8084          T. L. Ashford                                                Revell Inc.               IT
              8069          TERRY TOYS, INC.                                             Revell Inc.               Independent Mfg / Sales Representative
              8137          Textron Innovations Inc.                                     Revell Inc.               Licensing
              8138          The Wright Brothers USA, LLC                                 Revell Inc.               Licensing
              3024          Toyco Inc.                                                   United Model, Inc.        Manufacturing/Sales
              8070          Toyco Inc.                                                   Revell Inc.               Independent Mfg / Sales Representative
              8085          Tri Star Inc.                                                Revell Inc.               IT
              3012          TRUE VALUE COMPANY                                           United Model, Inc.        Customer/Supplier
              3013          UNITED HARDWARE DISTR CO.                                    United Model, Inc.        Customer/Supplier
              8147          Velia Deal                                                   Revell Inc.               Licensing
              8148          Velia Deal                                                   Revell Inc.               Licensing
              8149          Volkswagen Zubehor GmbH                                      Revell Inc.               Licensing
              3014          WALMART                                                      United Model, Inc.        Customer/Supplier
              1008          Warner Bros. Consumer Products Inc.                          Hobbico                   Licensing




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